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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )       Case No. 07-20065
                                                  )                10-2130
ALEJO CESAREO-AYALA,                              )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Alejo Cesareo-Ayala filed a pro se motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. § 2255 (doc. 175), which this court denied

(doc. 179). He has now filed a Motion to Vacate Judgment (doc. 180), in which he urges

this court to reconsider its ruling under Rule 60(b). For the reasons discussed below, this

motion is denied in part and dismissed in part.

       “Relief under Rule 60(b) is discretionary and is warranted only in exceptional

circumstances.” Van Skiver v. United States, 952 F.2d 1241, 1243 (10th Cir. 1991); see

also Servants of the Paraclete v. Does, 204 F.3d 1005, 1009 (10th Cir. 2000). “A litigant

shows exceptional circumstances by satisfying one or more of Rule 60(b)’s six grounds

for relief from judgment.” Van Skiver, 952 F.2d at 1243-44. According to Rule 60, a

court may grant relief from judgment for one of the following reasons:

       (1) mistake, inadvertence, surprise, or excusable neglect;
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       (2) newly discovered evidence that, with reasonable diligence, could not have
               been discovered in time to move for a new trial under Rule 59(b);
       (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
               misconduct by an opposing party;
       (4) the judgment is void;
       (5) the judgment has been satisfied, released or discharged; it is based on an
               earlier judgment that has been reversed or vacated; or applying it
               prospectively is no longer equitable; or
       (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b).

       A “true” 60(b) motion following the denial of § 2255 petition, however, must

“either (1) challenge[] only a procedural ruling of the habeas court which precluded a

merits determination of the habeas application; or (2) challenge[] a defect in the integrity

of the federal habeas proceeding, provided that such a challenge does not itself lead

inextricably to a merits-based attack on the disposition of a prior habeas petition.” In re

Lindsey, 582 F.3d 1173, 1175 (10th Cir. 2009) (citing Spitznas v. Boone, 464 F.3d 1213,

1215-16 (10th Cir. 2006) (citations omitted)). If the motion instead “in substance or

effect asserts or reasserts a federal basis for relief from the petitioner’s underlying

conviction,” it is a second or successive petition. Id.

       Here, Mr. Cesareo-Ayala’s motion contains both procedural challenges to the

court’s ruling, which would qualify as “true” 60(b) grounds, and also substantive

arguments concerning his underlying conviction, which constitute a second or successive

petition.

       First, as to procedural arguments, Mr. Cesareo-Ayala argues that he did not

procedurally default any arguments because of the “actual innocence exception.” He

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does not explain that argument, other than to assert that it was “memorialized in his

Amendment to his Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241.” Mr. Cesareo-

Ayala, however, filed a § 2255 petition and not a § 2241 motion. Moreover, he never

filed any Amendment to his petition. This argument is undeveloped, and it does not meet

the high standard for Rule 60(b) relief.

       Mr. Cesareo-Ayala also objects to the court’s denial of a COA prior to any official

request from him for one. As the court noted, however, Rule 11 of the Rules Governing

Section 2255 Proceedings requires the court to grant or deny a COA when making a

ruling adverse to the petitioner. After analyzing Mr. Cesareo-Ayala’s § 2255 claims, this

court concluded that he was unable to satisfy the standard necessary for a COA, and thus

declined to issue one. The court, therefore, followed proper procedure in ruling on the

§ 2255 and the COA.        To the extent Mr. Cesareo-Ayala disputes that decision

substantively, the court sees no reason to reconsider.

       To the extent Mr. Cesareo-Ayala’s Rule 60(b) motion challenges these procedural

arguments, it is denied.

       Beyond those claims, however, Mr. Cesareo-Ayala merely reiterates the substance

of his § 2255 petition. He again argues that the indictment against him violated Apprendi

and thus presented a jurisdictional barrier to his conviction. He also has a section of

argument titled “Defects in the Guilty Plea,” even though Mr. Cesareo-Ayala did not

enter a guilty plea and instead was convicted following a jury trial. These arguments

challenge the validity of Mr. Cesareo-Ayala’s underlying conviction and sentence. As

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such, they are not “true” 60(b) motions and are more properly construed as second or

successive § 2255 arguments.

       In order to file a successive § 2255 motion, a petitioner must first move the court

of appeals for an order authorizing the district court to hear the motion. 28 U.S.C. §

2244(b)(3).     The court of appeals then may grant permission to file a second or

successive motion only if the applicant meets certain criteria. § 2255(h). Specifically,

the applicant must show either “(1) the existence of newly discovered evidence that, if

proven in light of the evidence as a whole, would be sufficient to establish by clear and

convincing evidence that no reasonable factfinder would have found the movant guilty

of the offense; or (2) a new rule of constitutional law, made retroactive to cases on

collateral review by the Supreme Court, that was previously unavailable.” Id.

       Because Mr. Cesareo-Ayala has failed to obtain, or even seek, that permission, this

court may transfer the case to the Tenth Circuit if “it is in the interest of justice to do so.”

In re Cline, 531 F.3d 1249, 1252 (10th Cir. 2008). If it is not in the interests of justice

to transfer the case, however, this court must dismiss the case for lack of jurisdiction

because it has no authority to entertain second or successive § 2255 motions unauthorized

by the court of appeals. Id.

       For the reasons this court set forth in its order denying Mr. Cesareo-Ayala’s

§ 2255 petition, he has failed to satisfy § 2255(h)’s strict requirements for a successive

petition, such that a transfer to the court of appeals would serve no legitimate purpose and

would therefore not be in the interest of justice. As such, this court has no choice but to

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dismiss those parts of his motion for lack of jurisdiction.




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion to

vacate judgment (doc. 180) is denied in part and dismissed in part.



       IT IS SO ORDERED this 24th day of June, 2010.



                                    s/ John W. Lungstrum
                                    John W. Lungstrum
                                    United States District Judge




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